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                          Case 23-03141 Document 1-8 Filed in TXSB on 08/01/23 Page 1 of 1

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                                                    HREP/Jetall, et al.                               57                                      Exhibit 7
